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 2                                                                          DENIED
 3                                                              BY ORDER OF THE COURT
 4
                                                               NO SHOWING OF GOOD CAUSE

 5                                                                                           7/3/18
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                             UNITED STATES DISTRICT COURT
10                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
11

12     BROIDY CAPITAL MANAGEMENT LLC                             Civil Case No.:
       and ELLIOTT BROIDY,
13                                                               2:18-CV-02421-JFW-(Ex)
14            Plaintiffs,

15            v.                                                 [Assigned to the Hon. John F. Walter]
16
       STATE OF QATAR, STONINGTON
17                                                               [PROPOSED] ORDER ON
       STRATEGIES LLC, NICOLAS D.
                                                                 STIPULATION REGARDING
18     MUZIN, GLOBAL RISK ADVISORS
                                                                 HEARING DATE FOR
       LLC, KEVIN CHALKER, DAVID MARK
19                                                               DEFENDANT STATE OF QATAR’S
       POWELL, MOHAMMED BIN HAMAD
                                                                 MOTION TO DISMISS PURSUANT
20     BIN KHALIFA AL THANI, AHMED AL-
                                                                 TO RULES 12(b)(1) AND 12(b)(2) OF
       RUMAIHI, and DOES 1-10,
21                                                               THE FEDERAL RULES OF CIVIL
                                                                 PROCEDURE
22            Defendants.
23                                                               Complaint Filed: March 26, 2018
                                                                 Amended Complaint: May 24, 2018
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        [PROPOSED] ORDER ON STIPULATION REGARDING HEARING DATE FOR DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
                       PURSUANT TO RULES 12(b)(1) AND 12(b)(2) OF THE FEDERAL RULES OF CIVIL PROCEDURE
     Case 2:18-cv-02421-JFW-E Document 121 Filed 07/03/18 Page 2 of 2 Page ID #:2184



 1            Presently before the Court is the Joint Stipulation of Plaintiffs Broidy Capital
 2    Management LLC and Elliott Broidy (“Plaintiffs”), Defendant State of Qatar (“Qatar”),
 3    Defendants Nicolas D. Muzin and Stonington Strategies (“Stonington Defendants”), and
 4    Defendants Global Risk Advisors LLC and Kevin Chalker (“GRA Defendants”)
 5    Regarding Hearing Date for Defendant State of Qatar’s Motion to Dismiss Pursuant to
 6    Rules 12(b)(1) and 12(b)(2) of the Federal Rules of Civil Procedure.
 7            After being advised of the status of the case and good cause appearing, the Joint
 8    Stipulation is GRANTED.
 9            IT IS HEREBY ORDERED, as follows:
10            1.    Qatar’s Motion to Dismiss the First Amended Complaint Pursuant to Federal
11    Rules of Civil Procedure 12(b)(1) and 12(b)(2), filed on June 27, 2018 (Dkt. 112), shall
12    be heard on August 6, 2018, at 1:30 p.m., or on such other date as may be convenient for
13    the Court, in lieu of the July 30, 2018 hearing date noticed in Qatar’s Motion; and
14            2.    Plaintiffs’ opposition to Qatar’s motion shall be filed on or before July 16,
15    2018.
16

17            IT IS SO ORDERED.
18

19    Dated: ____________                                                   DENIED
20                                                             BY ORDER OF THE COURT
                                                                   Hon. John F. Walter
21                                                                 United States District Judge
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        [PROPOSED] ORDER ON STIPULATION REGARDING HEARING DATE FOR DEFENDANT STATE OF QATAR’S MOTION TO DISMISS
                       PURSUANT TO RULES 12(b)(1) AND 12(b)(2) OF THE FEDERAL RULES OF CIVIL PROCEDURE
